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                                             COURT MINUTES                                               Page 1

                                Magistrate Judge Jacqueline Becerra
                        King Building Courtroom 10-6                       Date: 4/12/2022     Time: 8:00 a.m.
Defendant: Carlos Ramon Polit Faggioni       J#: 02758-506 Case #: 22-cr-20114-Williams
AUSA: Jill Simon/Michael Berger                        Attorney: Fernando Tamayo/James Odell
Violation: Conspiracy to Commit Money Laundering
Proceeding: Motion to Reconsider Conditions of Bond            CJA Appt:
Bond/PTD Held:        Yes      No        Recommended Bond: $8 mil CSB w/Nebbia & $10 mil PSB Co-signed
Bond Set at:                                                    Co-signed by:
     Surrender and/or do not obtain passports/travel docs             Language:      Spanish
     Report to PTS as directed/or            x’s a week/month by      Disposition:
     phone:          x’s a week/month in person                        -   Deft present
     Random urine testing by Pretrial Services
     Treatment as deemed necessary
                                                                       -   AUSA Simon appeared by phone
     Refrain from excessive use of alcohol
     Participate in mental health assessment & treatment               -   Defense counsel proposed to the
     Maintain or seek full-time employment/education                       Court a bond of 10% of the
     No contact with victims/witnesses                                     maximum that the family can
     No firearms                                                           pledge that is unrelated to the
     Not to encumber property                                              properties in question and all
     May not visit transportation establishments                           previous conditions ordered
     Home Confinement/Electronic Monitoring and/or
     Curfew          pm to           am, paid by                       -   Court instructs counsel to submit a
     Allowances: Medical needs, court appearances, attorney visits,        bond package
     religious, employment
     Travel extended to:                                                Time from today to ________ excluded
     Other:                                                             from Speedy Trial Clock

NEXT COURT APPEARANCE       Date:            Time:           Judge:                       Place:
Report RE Counsel:
PTD/Bond Hearing:
Prelim/Arraign or Removal:
Status Conference RE:
D.A.R.     08:10:29                                                   Time in Court:      58 mins
